               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            CENTRAL DIVISION


GERALD A. FAST, TALISHA CHESHIRE )
and BRADY GEHRLING on behalf of             )
themselves and as class representatives for )
all others similarly situated,              )
                                            )
               Plaintiffs,                  )
                                            )
        v.                                  )    Case No. 06-4146-CV-C-NKL
                                            )
APPLEBEE’S INTERNATIONAL, INC. )
d/b/a APPLEBEE’S NEIGHBORHOOD               )
GRILL & BAR,                                )
                                            )
               Defendant.                   )

                                         ORDER

       Pending before the Court is Plaintiffs Gerald A. Fast, Talisha Cheshire and Brady

Gehrling’s Motion for Conditional Class Certification and Approval of Notice to Putative

Class Members [Doc. # 45]. In their Motion, Plaintiffs ask the Court to conditionally

certify two classes. Plaintiffs describe the first class (hereinafter, “Tipped Employee”

class) as “a class of all persons formerly and/or presently employed by Defendant

Applebee’s International, Inc. and its subsidiaries as a tipped employee, specifically

servers and bartenders, during the notice period,” and the second class (hereinafter,

“Appletime” class) as “a class of all persons formerly and/or presently employed by

Applebee’s as an hourly employee . . . during the notice period.” (Doc. 45 at 1).

Plaintiffs also ask the Court to approve the mailing and electronic publishing of notice to


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all putative class members for both classes, and to require Applebee’s to produce a list of

all potential class members, including their mailing address, telephone number, e-mail

address and job title in Microsoft Excel spreadsheet format. (Doc. 45 at 1).

       In their Reply to Defendant Applebee’s International, Inc.’s (“Applebees”)

Suggestions in Opposition to Plaintiff’s Motion, Plaintiffs indicate that they no longer

wish to pursue certification of the Appletime class. (Doc. 69 at 1). Instead, Plaintiffs ask

the Court

               only to conditionally certify a class of current and former servers
               and bartenders at ‘corporate’ restaurants (i.e. those operated by
               defendant or its subsidiaries as opposed to franchisees) during the
               statutory period who were/are directed or permitted to perform
               duties that would not generate tips such as general maintenance
               and preparatory work in excess of twenty percent (20%) of their
               shift without paying them at least minimum wage for such work.

(Doc. 69 at 1-2).

       For the reasons stated herein, Plaintiffs’ Motion, as amended by their Reply, is

granted in part.

I.     Facts

       The named plaintiffs are individuals who have worked as servers, bartenders and

hourly employees at an Applebee’s restaurant. Plaintiffs Fast and Gehrling are currently

employed by Applebees in Columbia, Missouri. Plaintiff Cheshire was employed by

Applebees in Jefferson City, Missouri from November 22, 2004 through January 23,

2007. Each plaintiff submitted an affidavit in which he or she testified that non-tipped

work accounted for more than 20% of his or her total shift.


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       Each restaurant typically develops its own list of tipped employees’ duties that are

to be performed throughout the day. And, tipped employees’ schedules vary depending

on each restaurant’s expected needs. Notwithstanding each restaurant’s freedom to

schedule their employee’s duties, an Applebees document titled “Labor Management Best

Demonstrated Practices” states that

       BOH [Back of the house, or non-tipped employees] savings are possible
       by utilizing FOH [Front of the House, or tipped employees] Associates
       to complete some or all of the following:
               - Servers portion prep items during slow times.
               - All FOH Associates can act as [General Utility, or dishwasher]
                for slow shifts.
               - All FOH Associates can act as the Expo during slow times.
       Leave notes in the Managers log of possible cleaning duties that can be
       performed during slow times. These predetermined activities are to be
       assigned to insure that during slow times Associates are still productive.

(Doc. 50, Ex. 2). Each of these activities–preparing prep items, dishwashing, acting as

Expo and cleaning–could be considered non-tip producing activities.

       A May 2005 to August 2005 investigation by the Department of Labor (“DOL”)

determined that eighteen employees working at an Applebee’s restaurant in Osage Beach

were owed $1,892.84 in back wages as a result of working in excess of the 20% limit for

tipped employees. In addition, a May 2005 to December 2005 DOL investigation of an

Applebee’s restaurant in Jefferson City found 264 instances where tipped employees were

not paid minimum wage for non-tip producing activity, or where employees were

working but not being paid for their time at all.

       Ronda Burry, a corporate manager of an Applebee’s restaurant in Columbia,

identified a Core Manual made available to her by Applebees. The manual describes a

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number of tasks that may be performed by servers and bartenders. Burry testified that, at

her restaurant, bartenders perform general maintenance or preparatory work identified in

the manual as tasks appropriate for their position. These tasks include: complete opening

checklist, checking in with manager, prepare a bucket or spray bottle with sanitary

solution, wipe down bar and bar chairs, get stock from the cooler, wash fruit and fill

baskets, cut and fill fruit trays, restock mixes and juices, check glassware for cleanliness,

fill salt rimmer, receive and count money drawer, complete shift change checklist, empty

garbage cans, clean various parts of the bar, roll silverware, restock silverware bins,

organize the bar and answer the telephone.

       Similarly, Burry testified that, at her restaurant, severs perform general

maintenance or preparatory work identified in the manual as appropriate tasks for servers.

These tasks include: roll silverware; dump ice; fill drip cups in the salad cooler; clean

floors; clean tables; clean counters; clean tea urn; follow opening checklist; prepare a

bucket or spray bottle with sanitary solution; perform 10-point station check; dust and

clean artifacts, pictures and blinds; stock side station; set up server, Expo and beverage

station; stock, rotate and prep items for reach-in cooler and Expo line; clean Tiffany

lights; clean beadboards; clean wood surfaces; answer telephone; and clean soda

dispenser.

II.    Discussion

       A.     Class Certification




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       Section 216(b) of the Fair Labor Standards Act provides that an employee may

bring an action for himself and other employees “similarly situated.” 29 U.S.C. § 216(b).

A 216(b) collective action differs significantly from Fed. R. Civ. P. 23 class actions. A

primary difference between the two is that, under § 216(b), a similarly situated employee

must “opt-in” to the collective action to be bound by the proceeding’s outcome whereas,

under Rule 23, a similarly situated plaintiff must “opt-out” to avoid being similarly

bound. 29 U.S.C. § 216(b); Fed. R. Civ. P. 23.

       Federal courts have used varying standards to determine whether potential opt-in

plaintiffs are “similarly situated” under § 216(b). Davis v. Novastar Mortgage, Inc. , 408

F. Supp.2d 811, 815 (W.D. Mo. 2005). Though the Eighth Circuit Court of Appeals has

not indicated which standard should be used, a majority of the district courts in the Eighth

Circuit use the two-step analysis adopted in Mooney v. Aramco Services Co., 54 F.3d

1207 (5th Cir. 1995). See, e.g., Davis, 408 F. Supp.2d 811; Kalish v. High Tech Institute,

Inc., 2005 WL 1073645 (D. Minn. 2005); Dietrich v. Liberty Square L.L.C., 230 F.R.D.

574 (N.D. Iowa 2005); McQuay v. American Int’l Group, Inc., 2002 WL 31475212 (E.D.

Ark. 2002).

       Under this two-step process, the plaintiff first moves for class certification for

notice purposes. The plaintiff’s motion for certification is typically filed at an early stage

of the litigation thus requiring a lenient evaluation standard and typically resulting in

conditional certification of a representative class. Mooney, 54 F.3d at 1213-14; Grayson

v. K Mart, 79 F.3d 1086, 1096 (11th Cir. 1996) (noting that the “similarly situated”


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standard is considerably less stringent than Rule 23(b)(3) class action standards). At this

early stage of litigation, the Court does not reach the merits of the plaintiff’s claims.

Hoffmann v. Sbarro, Inc., 982 F. Supp. 249, 262 (S.D.N.Y. 1997) (citation omitted).

Once the Court conditionally certifies the class, potential class members are given notice

and the opportunity to “opt-in.” Mooney, 54 F.3d at 1214.

       At the second step of the process, the defendant may move to decertify the class.

This is typically done after the close of discovery when the Court has much more

information and is able to make a more informed decision. Id.

       In some cases, the Court will skip the “notice” step and move directly to a second-

step evaluation of Plaintiffs’ Motion for Class Certification. Pfohl v. Farmers Ins. Group,

2004 WL 554834, *3 (C.D. Cal. 2004) (court proceeded directly to the second stage of

certification where parties did not dispute that discovery had been undertaken); Morisky

v. Public Serv. Elec. & Gas Co., 111 F. Supp.2d 493, 498 (D. N.J. 2000) (applying a

stricter standard where discovery had been completed).

       In the instant case, the parties have conducted some discovery, but neither party

contends that discovery is substantially complete. Because discovery is not substantially

complete, the Court finds that Plaintiffs’ Motion should be evaluated under the more

lenient “notice stage” criteria.

       B.     Similarly Situated

       The FLSA does not define the term “similarly situated.” But, “courts have held

that plaintiffs can meet this burden by making a modest factual showing sufficient to


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demonstrate that they and potential plaintiffs together were victims of a common policy

or plan that violated the law.” Realite v. Ark Restaurants Corp., 7 F. Supp.2d 303, 306

(S.D.N.Y. 1998); Davis, 408 F. Supp.2d at 815 (holding that, at the notice stage,

conditional certification “requires nothing more than substantial allegations that the

putative class members were together the victims of a single decision, policy or plan.”).

Plaintiffs need not show that members of the conditionally certified class are actually

similarly situated. That determination will be made after the close of discovery. Davis,

408 F. Supp.2d at 815.

       In this case, Plaintiffs assert that the class members are similarly situated because

“there is a common plan or practice to utilize servers and bartenders in a non-tipped

capacity without paying them the required minimum wage. This is shown through

affidavits, corporate memos stating the best demonstrated labor practices are to utilize

FOH (Tipped Employees) to perform BOH (non-tipped) duties, as well as the Department

of Labor investigative report that found these activities were ongoing at multiple

Applebee’s restaurants.” (Doc. 46 at 11).

       An employer may not claim a tip credit for an employee’s non-tip producing

activities if the tipped employee spends more than 20% of his or her shift on non-tip

producing activities. Plaintiffs have submitted sworn affidavits that they often spent more

than 20% of their shift performing duties that they believe are not tip-producing. In

addition, Plaintiffs have submitted evidence that Applebees recommends using tipped

employees to do non-tip-producing duties as a way to achieve “BOH savings.” In other


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words, Applebees encourages its restaurants’ managers to use low-wage tipped

employees to perform jobs that are not tip-producing as a way to save money. Plaintiffs

have also submitted evidence that the Department of Labor concluded that Applebees-

owned restaurants in more than one location had failed to pay tipped employees for non-

tip producing work that exceeded 20% of their shift.

       Applebees argues that its servers and bartenders are not similarly situated because

each restaurant’s manager schedules its employees and assigns them job duties

independently. To be similarly situated, however, class members need not be identically

situated. Hyman v. First Union Corp., 982 F. Supp. 1, 7 (D.D.C. 1997). The “similarly

situated” threshold requires only a modest factual showing. Realite, 7 F. Supp.2d at 306;

Davis, 408 F. Supp.2d at 816 (noting that declarations provide appropriate support for

conditional certification); Boyle v. Barber & Sons, Co., Case No. 03-0574-CV-W-FJG

(W.D. Mo. 2004) (granting conditional certification based on the affidavit of one former

employee). In this case, Applebees encourages its restaurant’s to save money by using

tipped employees in non-tip producing capacities. Furthermore, though each restaurant is

different, all bartenders and all servers are subject to Applebee’s corporate policies and

training, and all perform essentially the same duties, which are described in the Core

Manual. Plaintiffs have submitted sufficient evidence to show that Applebees maintains

and encourages a practice that results in tipped employees performing non-tip producing

tasks for less than minimum wage.




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       Applebees also argues that conditional certification is inappropriate in this case

because plaintiffs’ claims are not valid and because the class itself would be

unmanageable. Neither argument precludes conditional certification. Hoffmann, 982 F.

Supp at 262 (holding that, at the notice stage, the court does not reach the merits of

plaintiffs’ claims) (citation omitted); Pivonka v. Board of County Commissioners of

Johnson County, Kansas, 2005 WL 1799208, *2 (D. Kan. 2005) (holding that disparate

factual and employment settings are reviewed during “second stage” analysis, not during

“notice stage”).

       Therefore, given the lenient notice standard, the Court finds that Plaintiffs have

met their burden to show that conditional certification is proper.

       C.     Notice to Potential Class Members

       FLSA violations are subject to a two-year statute of limitations unless the violation

is willful, in which case a three-year statute of limitations applies. 29 U.S.C. § 255(a).

Applebees argues that notice should be sent only to current employees and former

employees who worked within three years of the notice being issued. Redman v. U.S.

West Business Resources, Inc., 153 F.3d 691, 695 (8th Cir. 1998) (“An action is

commenced under the FLSA when a party files suit. In the case of a collective action

under the FLSA, the action is commenced when a party files his or her written consent to

become part of the action.”). Also see, Bolton v. Sprint, 2006 WL 1789142 (D. Kan.

2006) Plaintiffs have not presented any authority to the contrary. Therefore, the class




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notice shall be sent only to current employees and those past employees who have worked

for Applebees within the last three years from the date of this order.

       In addition, Plaintiffs are directed to modify the notice form attached to their

Motion for Class Certification to include the website, if any, that the class members may

use to opt in. The notice should reflect that the class members have 90 days from the

date the notice is mailed to respond.

       Finally, Plaintiffs request that Applebees be ordered to produce a list of all

potential class members including their last known mailing address, telephone number, e-

mail address and job title, and that such list be in excel spreadsheet format. Plaintiffs

request too much. Applebees are ordered to produce to Plaintiffs a list of all potential

class members (i.e., those class members who are current employees of Applebees or

have been employees of Applebees in the last three years) including their last known

mailing address, telephone numbers and email. The list must be produced within thirty

days from the date of this order, in a usable format; Applebees need not convert its list to

Plaintiffs’ preferred format.

IV.    Conclusion

       Accordingly, it is hereby ordered that

       Plaintiffs’ Motion for Conditional Class Certification and Approval of Notice to

Putative Class Members [Doc. 45], as amended by Plaintiffs’ Reply to Defendant’s

Suggestions in Opposition to Plaintiffs’ Motion [Doc. 69] is GRANTED IN PART. The

Court conditionally certifies Plaintiffs’ Tipped Employee class. Plaintiffs’ Notice to


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Putative Class Members is approved as provided in this order and Applebees must

produce to Plaintiffs a list of all potential class members, including their last known

mailing address, telephone numbers and email within 30 days of the date of this order.


                                                    s/ NANETTE K. LAUGHREY
                                                  NANETTE K. LAUGHREY
                                                  United States District Judge

Dated: June 19, 2007
Jefferson City, Missouri




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